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        Exhibit C
                                 Salem Community
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    INVOICE

    Date:Sep 21, 2018
    Invoice #: 3
    Matter: Eltman, Eltman & Cooper, P.C. and LVNV Funding, LLC
    File #:

    Bill To:
    Godson, Christopher

    Due Date: Oct 25, 2018



                          Payments received after Sep 21, 2018 are not reflected in this statement.



      Professional Services

      Date                     Details                                                  Hours         Rate   Amount

      Jun 22, 2017             Correspondence                                            0.10    $400.00      $40.00
                               Email to Connie Montoya re: rescheduling 30(b)(6)
                               depo of Eltman

      Jun 23, 2017             Correspondence                                            0.10    $400.00      $40.00
                               Email to Connie Montoya re: rescheduling 30(b)(6)
                               depo of Eltman

      Jun 27, 2017             Phone Call                                                0.50    $400.00     $200.00
                               Conference call with Brian and Nabil re: rescheduling
                               LVNV depo and joint request to extend discovery

      Jun 27, 2017             Proofread/Edit Document                                   0.30    $400.00     $120.00
                               Reviewed motion for extension of discovery prepared
                               by Brian; made minor corrections

      Jun 29, 2017             Phone call                                                0.30    $400.00     $120.00
                               Call with Brian to discuss Connie's proposed dates for
                               rescheduled Eltman depo - we settled on July 21,
                               2017

      Jul 06, 2017             Phone call                                                0.30    $400.00     $120.00
                               Telephone call with BLB to discuss Nabil's proposed
                               dates for LVNV depo - we agreed July 27 would be
                               best.

      Jul 13, 2017             Prepare and File Document                                 0.60    $400.00     $240.00
                               Researching WDNY's procedure for changing attorney
                               address, preparing change of address, and filing

      Jul 13, 2017             Draft Document                                            0.60    $400.00     $240.00
                               Amended 30(b)(6) depo notices on both Eltman and

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                           LVNV

      Jul 19, 2017         Depo Prep                                                  5.60   $400.00   $2,240.00
                           Going through all discovery and gathering and sorting
                           everything we might want to use as an exhibit at
                           Eltman 30(b)(6) depo

      Jul 20, 2017         Travel Time                                                2.40   $400.00    $960.00
                           Flight to Newark for rescheduled Eltman 30(b)(6) depo

      Jul 20, 2017         Depo Prep                                                  5.20   $400.00   $2,080.00
                           Going through all potential exhibits with Brian
                           Bromberg in NYC; making list of points to hit and
                           discussing deposition strategy

      Jul 21, 2017         Depo Prep                                                  1.10   $400.00    $440.00
                           Final preparations for depo of Eltman - preparing
                           conference room and all documents; discussion with
                           BLB

      Jul 21, 2017         Deposition                                                 8.70   $400.00   $3,480.00
                           30(b)(6) deposition of Eltman (Jacquelyn Kenel)

      Jul 21, 2017         Travel Time                                                2.10   $150.00    $315.00
                           Flight back to NC from Newark after 30(b)(6) depo of
                           Eltman

      Jul 25, 2017         Depo Prep                                                  3.20   $400.00   $1,280.00
                           Searching for potential exhibits for LVNV 30(b)(6)
                           depo, including searching for information on Meghan
                           Emmerich and searching PACER for other LVNV depo
                           transcripts that could be helpful

      Jul 25, 2017         Phone Call                                                 0.60   $400.00    $240.00
                           Telephone call with Brian - preparing for 30(b)(6) depo
                           of LVNV

      Jul 26, 2017         Depo Prep                                                  2.10   $400.00    $840.00
                           Sorting and printing all potential exhibits for Emmerich
                           depo (and documents that had already been marked
                           as exhibits in Kenel depo).

      Jul 26, 2017         Travel Time                                                3.00   $400.00   $1,200.00
                           Drive to Greenville, SC from Winston-Salem, NC

      Jul 27, 2017         Deposition                                                 7.00   $400.00   $2,800.00
                           30(b)(6) depo of LVNV (Meghan Emmerich)

      Jul 27, 2017         Depo Prep                                                  1.10   $400.00    $440.00
                           Final preparation for LVNV depo with Brian over
                           breakfast - going over list of points to hit, potential
                           exhibits, strategy

      Jul 27, 2017         Travel Time                                                3.00   $400.00   $1,200.00
                           Drive back to Winston-Salem, NC from Greenville, SC

      Jul 28, 2017         Phone call                                                 0.40   $400.00    $160.00


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                           Phone call with Brian and Connie re: discovery, motion
                           practice, settlement

      Jul 31, 2017         Draft Motion                                               1.00   $400.00   $400.00
                           Drafting Motion to Extend Discovery

      Jul 31, 2017         Correspondence                                             0.80   $400.00   $320.00
                           Several email back and forth with Connie re: consent
                           motion to extend discovery, and revisions to motion
                           papers Connie asked for

      Jul 31, 2017         File motion                                                0.20   $400.00    $80.00
                           Filing motion for extension of discovery

      Aug 07, 2017         Subpoena                                                   0.40   $400.00   $160.00
                           Prepare Angela Stokes subpoena

      Aug 07, 2017         Telephone Call                                             0.40   $400.00   $160.00
                           Call with Brian Bromberg and Craig Shapiro -
                           discussed strategy re: Angela Stokes depo and net
                           worth discovery with BB; discussed possible depo
                           locations and court reporters in Raleigh-Durham area
                           with CS.

      Aug 07, 2017         Preparation of Document                                    0.50   $400.00   $200.00
                           Drafting subpoena on Angela Stokes

      Aug 07, 2017         Research                                                   1.30   $400.00   $520.00
                           Online research of Angela Stokes's whereabouts -
                           LinkeIn, Duke Medical websites and directories,
                           Spokeo, NC voter database, etc.

      Aug 08, 2017         Research                                                   0.20   $400.00    $80.00
                           Research of rules for compensating subpoenaed
                           witnesses

      Aug 08, 2017         Service of Subpoena                                        0.60   $400.00   $240.00
                           Email correspondence with Presto Servers to arrange
                           service of subpoena on Angela Stokes, and mailing
                           witness fee check in mail to Presto Servers

      Aug 09, 2017         Review File                                                1.40   $400.00   $560.00
                           Review financial statements produced by Eltman and
                           notes on previous conversations on net worth issue, in
                           preparation for drafting deposition on written questions
                           on Eltman's accountants

      Aug 10, 2017         Depo on Written questions - O'Connor                       2.10   $400.00   $840.00
                           Drafting deposition on written questions on Eltman's
                           accountantss

      Aug 14, 2017         Depo on written questions on EEC's accountant              1.10   $400.00   $440.00
                           Revising and preparing Rule 45 subpoena on EEC's
                           accountant; researching correct location to serve
                           subpoena

      Aug 14, 2017         Deposition                                                 0.80   $400.00   $320.00

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                           Answering questions emailed by court reporter for
                           preparation of Emmerich depo transcript.

      Aug 14, 2017         Correspondence                                              1.20   $400.00    $480.00
                           Dictate, Prepare, Send Correspondence - Letter to
                           Connie Montoya laying out demands for production of
                           additional documents.

      Aug 30, 2017         Phone call                                                  0.10   $400.00     $40.00
                           Telephone call with Brian and Angela Stokes: re
                           deposition

      Aug 31, 2017         Correspondence                                              0.20   $400.00     $80.00
                           Email correspondence with Connie - answering her
                           questions about Stokes depo

      Sep 13, 2017         Review Discovery                                            6.60   $400.00   $2,640.00
                           Reviewing 450 pages of additional documents
                           produced by Defendants, so we could use info,
                           documents in Stokes depo

      Sep 14, 2017         Depo Prep                                                   1.20   $400.00    $480.00
                           Telephone call with BLB - preparation for Stokes depo,
                           including briefing him on new discovery turned over by
                           Defendants

      Sep 14, 2017         Depo Prep                                                   2.40   $400.00    $960.00
                           Organizing and printing all potential exhibits for Stokes
                           depo, including previously marked exhibits

      Sep 15, 2017         Travel Time                                                 1.40   $400.00    $560.00
                           Drive to Raleigh to attend deposition of Angela Stokes

      Sep 15, 2017         Travel Time                                                 1.40   $400.00    $560.00
                           Travel back to W-S, NC from Raleigh following
                           deposition of Angela Stokes

      Sep 15, 2017         Depo Prep                                                   0.80   $400.00    $320.00
                           Final preparation with Brian for Stokes depo on
                           morning of deposition

      Sep 15, 2017         Deposition                                                  6.60   $400.00   $2,640.00
                           Deposition of Angela Stokes

      Sep 18, 2017         Phone call                                                  0.20   $400.00     $80.00
                           Called Esquire to make sure that they had received
                           exhibits for use during deposition on written questions
                           and everything was ready to go

      Sep 19, 2017         Deposition                                                  0.30   $400.00    $120.00
                           Remotely attended deposition on written questions of
                           EEC's accountants - Brian made record of
                           accountants' non-attendance

      Sep 26, 2017         Phone call                                                  0.30   $400.00    $120.00
                           Telephone call w/ Nabil Foster and BLB re settlement
                           -- Foster made new offer

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      Sep 28, 2017         Correspondence                                            0.60   $400.00    $240.00
                           Wrote email to Connie and Nabil about their client's
                           continuing refusal to produce DebtNext records and
                           giving them deadline to respond

      Sep 29, 2017         Drafting Motion                                           1.00   $400.00    $400.00
                           Drafting and filing motion for extension of discovery

      Oct 09, 2017         Review Discovery                                          1.10   $400.00    $440.00
                           Initial review of DebtNext discovery produced by
                           Eltman on Friday

      Oct 11, 2017         Correspondence                                            0.10   $400.00     $40.00
                           Email correspondence with opposing counsel re:
                           DebtNext production

      Oct 23, 2017         Review of Discovery                                       5.20   $400.00   $2,080.00
                           Detailed review of DebtNext records, comparing them
                           with previous account records from other systems
                           turned over by Defendants -- entering all data into
                           spreadsheet to try to determine exactly how interest
                           was calculated and how records related to each other

      Oct 24, 2017         Review Discovery                                          4.50   $400.00   $1,800.00
                           Continued detailed review and analysis of DebtNext
                           records, and comparison with records from other
                           systems, to try to determine how all the records could
                           be reconciled. Entered all data into spreadsheet and
                           wrote a narrative about how all amounts were
                           calculated, so we wouldn't become confused later.

      Oct 24, 2017         Phone Call                                                1.20   $400.00    $480.00
                           Telephone call w/ Brian re what needs to be done next
                           on this case and what the DebtNext database shows

      Oct 31, 2017         Prepare document                                          0.40   $400.00    $160.00
                           Draft/prepare notice of continuation of Eltman 30(b)(6)
                           depo

      Nov 01, 2017         Correspondence                                            0.30   $400.00    $120.00
                           Email correspondence with Nabil re scheduling
                           continuation of Eltman depo

      Nov 01, 2017         Draft Motion                                              1.90   $400.00    $760.00
                           Drafting motion to hold EEC's accountants in
                           contempt for failing to appear at depo on written
                           questions

      Nov 02, 2017         Draft/File Motion                                         1.20   $400.00    $480.00
                           Finishing up motion papers to hold EEC's accountants
                           in contempt; compiling and preparing exhibits); filing
                           (including opening miscellaneous case in SDNY)

      Nov 02, 2017         Phone call                                                0.20   $400.00     $80.00
                           Telephone call w/ Chris Godson and Brian -- client
                           authorized us to make a revised settlement demand


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      Nov 02, 2017         Phone call                                                 0.20   $400.00    $80.00
                           Telephone call w/ Nabil Foster and Brian -- conveyed
                           new settlement demand

      Nov 14, 2017         Phone call                                                 0.20   $400.00    $80.00
                           Telephone call w/ BLB and Rebecca Gelozin

      Dec 13, 2017         Proofread/Edit documents                                   0.40   $400.00   $160.00
                           Reviewed Brian's drafts of settlement agreement and
                           class notice - made a few minor edits

      Mar 19, 2018         Draft motion                                               2.00   $400.00   $800.00
                           Drafting motion for preliminary approval in Godson

      Mar 20, 2018         Draft Motion                                               1.10   $400.00   $440.00
                           Drafting memo in support of motion for preliminary
                           approval

      Mar 21, 2018         Drafting documents                                         1.90   $400.00   $760.00
                           Drafting side documents for preliminary approval
                           motion - notice of motion, proposed orders. Also
                           cleaned up settlement agreement and made some
                           changes to class notice

      Apr 02, 2018         Edit document                                              0.30   $400.00   $120.00
                           Making final corrections to settlement agreement and
                           cleaning up for filing

      Apr 02, 2018         Draft Motion                                               0.70   $400.00   $280.00
                           Drafting my declaration in support of preliminary
                           approval

      Apr 02, 2018         Prepare/File Motion                                        0.60   $400.00   $240.00
                           Final preparation and filing of motion for preliminary
                           approval and all supporting documents

      Sep 14, 2018         Proofread/Edit Document                                    0.70   $400.00   $280.00
                           Reviewed Brian's draft of memo in support of final
                           approval and made edits

      Sep 18, 2018         Drafting Motion                                            1.10   $400.00   $440.00
                           Drafting my declaration in support of final approval and
                           attorney fees

      Sep 18, 2018         Correspondence                                             0.40   $400.00   $160.00
                           Drafting and filing letter motion requesting three-day
                           extension of time to file final approval documents

      Sep 20, 2018         Drafting motion                                            0.60   $400.00   $240.00
                           Revising, editing, and adding to my declaration in
                           support of final approval and attorney fees

      Sep 20, 2018         Phone call                                                 0.30   $400.00   $120.00
                           Telephone call with Brian - discussing final approval
                           papers

      Sep 21, 2018         Drafting, revising motion                                  1.60   $400.00   $640.00


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                           Revising memo in support of final approval; filling in
                           blanks with details of case; adding to section on
                           multipliers, revising other sections

      Sep 21, 2018         Draft, revise motion                                                0.30    $400.00     $120.00
                           Reviewing and editing Bromberg decl

      Sep 21, 2018         Prepare, file documents                                             0.90    $400.00     $360.00
                           Final preparation of documents - preparing exhibits,
                           converting documents to pdf - e-filing motion for final
                           approval and all supporting papers



                                              For professional services rendered             112.80              $44,595.00




      Additional Charges

      Date                 Details                                                          Quantity     Rate      Amount

      Jun 18, 2017         Hotel                                                                  1    $118.50     $118.50
                           Airbnb room in New York City for 30(b)(6) deposition of
                           Eltman, Eltman, & Cooper - Because I did not cancel
                           reservation five days in advance, I was obligated to pay
                           full rate for first night (night of 6/21/17) and half rate for
                           second night (night of 6/22/17). $79/night x 1.5 =

      Jun 19, 2017         Hotel                                                                  1     $98.97      $98.97
                           One night's stay in Newark, NJ on June 20, 2018 in
                           anticipation of 30(b)(6) deposition of Eltman, Eltman &
                           Cooper

      Jun 20, 2017         Mileage                                                                1    $301.74     $301.74
                           Travel to New York, NY in personal car for scheduled
                           30(b)(6) depo of Eltman, Eltman & Cooper on June 20
                           - Connie Montoya canceled depo on afternoon of June
                           20 - 564 mi x 53.5 cents = $301.74

      Jun 24, 2017         Mileage                                                                1    $301.74     $301.74
                           Travel back from New York, NY - canceled 30(b)(6)
                           depo of Eltman, Eltman & Cooper - in personal vehicle
                           - 564 mi x 53.5 cents = $301.74

      Jun 30, 2017         Flight                                                                 1    $162.90     $162.90
                           Round-trip airline ticket to Newark International, for
                           rescheduled 30(b)(6) deposition of Eltman, Eltman &
                           Cooper (Jacqueline Kenel) July 20-21, 2018

      Jul 01, 2017         Hotel                                                                  1    $142.90     $142.90
                           One night's stay in New York City for rescheduled 30
                           (b)(6) deposition of Eltman, Eltman & Cooper - night of
                           July 20, 2018

      Jul 01, 2017         Travel Insurance                                                       1     $20.13      $20.13


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                           Travel insurance on Priceline Hotel Room for July 20,
                           2017

      Jul 25, 2017         Hotel                                                        1   $178.98     $178.98
                           One night's stay in Greenville, SC for 30(b)(6)
                           deposition of LVNV (Meghan Emmerich) - night of July
                           26, 2018

      Jul 26, 2017         Mileage                                                      1    $93.09      $93.09
                           Travel in personal vehicle from W-S, NC to Greenville,
                           SC for 30(b)(6) depo of LVNV - 174 mi x 53.5 cents =
                           $93.09

      Jul 27, 2017         Mileage                                                      1    $93.09      $93.09
                           Travel from Greenville, SC to W-S, NC following 30(b)
                           (6) depo of LVNV in personal vehicle - 174 mi x 53.5
                           cents = $93.09

      Aug 30, 2017         Service of Process                                           1   $124.00     $124.00
                           Payment to Presto Servers for making service of
                           subpoena on Angela Stokes

      Sep 15, 2017         Mileage                                                      1    $55.64      $55.64
                           Travel to State Bar HQ in Raleigh, NC for deposition of
                           Angela Stokes in personal vehicle - 104 mi x 53.5
                           cents = $55.64

      Sep 15, 2017         Mileage                                                      1    $55.64      $55.64
                           Travel back from Raleigh, NC to W-S, NC following
                           depo of Angela Stokes in personal vehicle - 104 mi x
                           53.5 cents = $55.64

      Jul 01, 2018         PACER charges                                                1    $15.10      $15.10
                           PACER charges billed to Godson file for 2nd quarter,
                           2018

      Sep 05, 2018         Flight                                                       1   $298.60     $298.60
                           Round-trip airline ticket from Greensboro, NC to
                           Buffalo, NY for final approval hearing, 9/24/18 thru
                           9/25/18

      Sep 16, 2018         Hotel                                                        1   $256.28     $256.28
                           Travel to Buffalo for final approval hearing - one night's
                           stay - Sept. 24, 2018

      Sep 20, 2018         PACER                                                        1     $2.60        $2.60
                           Pacer charges to Godson file for 3rd quarter 2018



                                                         Total additional charges                      $2,319.90




                                                              Invoice Amount                          $46,914.90



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                                                         Balance Due                      $46,914.90




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